Order Form (01/2005)   Case: 1:03-cr-01032 Document #: 94 Filed: 01/27/05 Page 1 of 1 PageID #:720

                              United States District Court, Northern District of Illinois

    Name of Assigned Judge             John F. Grady          Sitting Judge if Other
       or Magistrate Judge                                     than Assigned Judge

   CASE NUMBER                          03 CR 1032                        DATE                     1/27/2005
            CASE                                              US vs. Watzman
            TITLE

  DOCK ET ENTRY TEXT:

  Defendant’s motion in limine to bar the government from presenting still
  photos that have not been authenticated as images of actual children is
  denied. ENTER MEMORANDUM OPINION.


  Notices mailed by chambers.


  O [ For further detail see attached order.]




                                                                                       Courtroom Deputy        KM
                                                                                                Initials:




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